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                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION


XR COMMUNICATIONS, LLC, dba
VIVATO TECHNOLOGIES,
                                                    Case No.   6:21-cv-695
                       Plaintiff,
                                                    JURY TRIAL DEMANDED
                v.

MICROSOFT CORPORATION,

                       Defendant.



                 COMPLAINT FOR PATENT INFRINGEMENT AGAINST
                          MICROSOFT CORPORATION

       This is an action for patent infringement arising under the Patent Laws of the United States

of America, 35 U.S.C. § 1 et seq., in which Plaintiff XR Communications LLC d/b/a Vivato

Technologies (“Plaintiff” or “Vivato”) makes the following allegations against Defendant

Microsoft Corporation (“Defendant”):

                                       INTRODUCTION

       1.       This complaint arises from Defendant’s unlawful infringement of the following

United States patent owned by Vivato, which generally relates to wireless communications

technology: United States Patent No. 10,715,235 (the “’235 Patent”) (the “Asserted Patent”).

       2.       Countless electronic devices today connect to the Internet wirelessly. Beyond just

connecting our devices together, wireless networks have become an inseparable part of our lives

in our homes, our offices, and our neighborhood coffee shops. In even our most crowded spaces,

today’s wireless technology allows all of us to communicate with each other, on our own devices,

at virtually the same time. Our connected world would be unrecognizable without the ubiquity of



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sophisticated wireless networking technology.

       3.       Just a few decades ago, wireless technology of this kind could only be found in

science fiction. The underlying science behind wireless communications can be traced back to the

development of “wireless telegraphy” in the nineteenth century. Guglielmo Marconi is credited

with developing the first practical radio, and in 1896, Guglielmo Marconi was awarded British

patent 12039, Improvements in transmitting electrical impulses and signals and in apparatus

there-for, the first patent to issue for a Herzian wave-based wireless telegraphic system. Marconi

would go on to win the Nobel Prize in Physics in 1909 for his contributions to the field.

       4.       One of Marconi’s preeminent contemporaries was Dr. Karl Ferdinand Braun, who

shared the 1909 Nobel Prize in Physics with Marconi. In his Nobel lecture dated December 11,

1909, Braun explained that he was inspired to work on wireless technology by Marconi’s own

experiments. Braun had observed that the signal strength in Marconi’s radio was limited beyond a

certain distance, and wondered why increasing the voltage on Marconi’s radio did not result in a

stronger transmission at greater distances. Braun thus dedicated himself to developing wireless

devices with a stronger, more effective transmission capability.

       5.       In 1905, Braun invented the first phased array antenna. This phased array antenna

featured three antennas carefully positioned relative to one another with a specific phase

relationship so that the radio waves output from each antenna could add together to increase

radiation in a desired direction. This design allowed Braun’s phased array antenna to transmit a

directed signal.

       6.       Building on the fundamental breakthrough that radio transmissions can be directed

according to a specific radiation pattern through the use of a phased array antenna, directed

wireless communication technology has developed many applications over the years. Braun’s




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invention of the phased array antenna led to the development of radar, smart antennas, and,

eventually, to a technology known as “MIMO,” or “multiple-input, multiple-output,” which would

ultimately allow a single radio channel to receive and transmit multiple data signals

simultaneously. Along the way, engineers have worked tirelessly to overcome limitations and

roadblocks directed wireless communication technology.

       7.       At the beginning of the twenty-first century, the vast majority of wireless networks

still did not yet take advantage of directed wireless communications. Instead, “omnidirectional”

access points were ubiquitous. Omnidirectional access points transmit radio waves uniformly

around the access point in every direction and do not steer the signal in particular directions.

Omnidirectional antennas access points do typically achieve 360 degrees of coverage around the

access point, but with a reduced coverage distance. Omnidirectional access points also lack

sophisticated approaches to overcome certain types of interference in the environment. As only

one example, the presence of solid obstructions, such as a concrete wall, ceiling, or pillar, can limit

signal penetration. As another example, interference arises when radio waves are reflected,

refracted, or diffracted based on obstacles present between the transmitter and receiver. The

multiple paths that radio waves can travel between the transmitter and receiver often result in signal

interference that decreases performance, and omnidirectional access points lack advanced

solutions to overcome these “multipath” effects.

       8.       Moving from omnidirectional networks to modern networks has required an

additional series of advancements that harness the capabilities of directed wireless technology.

These advancements range from conceiving various ways to steer and modify radiation patterns,

to enhancing the transmission signal power in a desired direction, to suppressing radiation in

undesired directions, to minimizing signal “noise,” and then applying these new approaches into




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communications networks with multiple, heterogenous transmitters and receivers.

       9.       Harnessing the capabilities of directed wireless technology resulted in a significant

leap forward in the signal strength, reliability, concurrent users, and/or data transmission capability

of a wireless network. One of the fundamental building blocks of this latest transition was the

development of improvements to MIMO and “beamforming,” which are the subject matter of

patents in this infringement action. The patents in this action resulted from the investment of tens

of millions of dollars and years of tireless effort by a group of engineers who built a technology

company slightly ahead of its time. Their patented innovations laid the groundwork for today’s

networks, and are infringed by Defendant’s accused products.




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                                             PARTIES

       10.     Plaintiff XR Communications, LLC, d/b/a Vivato Technologies (“Vivato” or

“Plaintiff”) is a limited liability company organized and existing under the laws of the State of

Delaware with its principal place of business at 2809 Ocean Front Walk, Venice, California 90291.

Vivato is the sole owner by assignment of all right, title, and interest in each Asserted Patent.

       11.     Vivato was founded in 2000 as a $80+ million venture-backed company with

several key innovators in the wireless communication field including Siavash Alamouti, Ken Biba,

William Crilly, James Brennan, Edward Casas, and Vahid Tarokh, among many others. At that

time, and as remains the case today, “Wi-Fi” or “802.11” had become the ubiquitous means of

wireless connection to the Internet, integrated into hundreds of millions of mobile devices globally.

Vivato was founded to leverage its talent to generate intellectual property and deliver Wi-Fi/802.11

wireless connectivity solutions to service the growing demand for bandwidth.

       12.     Vivato has accomplished significant innovations in the field of wireless

communications technology. One area of focus at Vivato was the development of advanced

wireless systems with sophisticated antenna designs to improve wireless speed, coverage, and

reliability. Vivato also focused on designing wireless systems that maximize the efficient use of

spectrum and wireless resources for large numbers of connected mobile devices.

       13.     Among many fundamental breakthroughs achieved by Vivato are inventions that

allow for intelligent and adaptive beamforming based on up-to-date information about the wireless

medium. Through these and many other inventions, Vivato’s engineers pioneered a wireless

technology that provides for simultaneous transmission and reception, a significant leap forward

over conventional wireless technology.

       14.     Over the years, Vivato has developed proven technology, with over 400




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deployments globally, including private, public and government, and it has become a recognized

provider of extended range Wi-Fi network infrastructure solutions. Vivato's wireless base stations

integrate beamforming phased array antenna design with packet steering technology to deliver

high-bandwidth extended range connections to serve multiple users and multiple devices.

       15.     Vivato’s patent portfolio includes over 17 issued patents and pending patent

applications. The patents at issue in this case are directed to specific aspects of wireless

communication, including adaptively steered antenna technology and beam switching technology.

       16.     Defendant Microsoft Corporation is a Washington corporation with a principal

place of business located at 1 Microsoft Way, Redmond, Washington 98052-8300.

       17.     Microsoft is registered to do business in Texas and can be served via its registered

agent, Corporation Service Company dba CSC – Lawyers Incorporating Service Company at 211

East 7th Street, Suite 620, Austin, Texas 78701-3218.

       18.     Microsoft maintains a permanent physical presence within the Western District of

Texas, conducting business from at least its locations at: 10900 Stonelake Boulevard, Suite 225,

Austin, Texas 78759; Concord Park II 401 East Sonterra Boulevard, Suite 300, San Antonio, Texas

78258; as well as other locations in and around the Austin and San Antonio areas.

       19.     Defendant offers for sale, sells, designs and manufactures and/or has manufactured

on their behalf abroad certain Accused Products that are then sold for importation into the United

States, imported into the United States, and/or sold, offered for sale, and/or used within the United

States after importation. By registering to conduct business in Texas and by having facilities where

it regularly conducts business in this District, Defendant has a permanent and continuous presence

in Texas and a regular and established place of business in the Western District of Texas.

                                 JURISDICTION AND VENUE




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       20.     This action arises under the patent laws of the United States, Title 35 of the United

States Code § 1, et seq, including 35 U.S.C. §§ 271, 281, 283, 284, and 285. This Court has original

subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1338(a).

       21.     This Court has personal jurisdiction over Defendant in this action because

Defendant has committed acts within this District giving rise to this action, and has established

minimum contacts with this forum such that the exercise of jurisdiction over Defendant would not

offend traditional notions of fair play and substantial justice. Defendant, directly and/or through

subsidiaries or intermediaries, have committed and continue to commit acts of infringement in this

District by, among other things, importing, offering to sell, and selling products that infringe the

asserted patents, and inducing others to infringe the asserted patents in this District. Defendant is

directly and through intermediaries making, using, selling, offering for sale, distributing,

advertising, promoting, and otherwise commercializing their infringing products in this District.

Defendant regularly conducts and solicits business in, engage in other persistent courses of conduct

in, and/or derive substantial revenue from goods and services provided to the residents of this

District and the State of Texas. Defendant is subject to jurisdiction pursuant to due process and/or

the Texas Long Arm Statute due to its substantial business in this State and District including at

least its infringing activities, regularly doing or soliciting business at its Austin facilities, and

engaging in persistent conduct and deriving substantial revenues from goods and services provided

to residents in the State of Texas including the Western District of Texas.

       22.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), (c), (d), and

1400(b) because Defendant has a permanent and continuous presence in, have committed acts of

infringement in, and maintain regular and established places of business in this district. Defendant

has committed acts of direct and indirect infringement in this judicial district including using and




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purposefully transacting business involving the Accused Products in this judicial district such as

by sales to one or more customers in the State of Texas including in the Western District of Texas,

and maintaining regular and established places of business in this district. For example, Defendant

maintain regular and established places of business at 10900 Stonelake Boulevard, Suite 225,

Austin, Texas 78759; Concord Park II 401 East Sonterra Boulevard, Suite 300, San Antonio, Texas

78258; as well as other locations in and around the Austin and San Antonio areas.

                                            COUNT I

                       INFRINGEMENT OF U.S. PATENT NO. 10,715,235

        23.     Vivato realleges and incorporates by reference the foregoing paragraphs as if fully

set forth herein.

        24.     On July 14, 2020, United States Patent No. 10,715,235 duly and legally issued for

inventions entitled “Directed Wireless Communication.” Vivato owns the ’235 Patent and holds

the right to sue and recover damages for infringement thereof. A copy of the ’235 Patent is attached

hereto as Exhibit A.

        25.     Defendant has directly infringed and continues to directly infringe numerous claims

of the ’235 Patent, including at least claim 8, by manufacturing, using, selling, offering to sell,

and/or importing into the United States certain products supporting MIMO and/or MU-MIMO

technologies (e.g., Defendant’s Surface Go 2,1 Surface Laptop Go, Surface Laptop 3, Surface

Laptop 4, Surface Pro X, Surface Pro 7, and Surface Book 3) (collectively, the “’235 Accused

Products”). Defendant is liable for infringement of the ’235 Patent pursuant to 35 U.S.C. § 271(a).

        26.     The ’235 Accused Products satisfy all claim limitations of numerous claims of




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 Surface Go 2 Webpage: https://www.microsoft.com/en-us/d/surface-go-
2/8pt3s2vjmdr6?activetab=pivot%3aoverviewtab

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the ’235 Patent, including Claim 8. The following paragraphs compare limitations of Claim 8 to

an exemplary Accused Product, the Microsoft Surface Go 2. See, e.g., Compare Microsoft Devices

Webpage, 2 Surface Pro 2 FAQ.3 Like the Surface Go 2, each Accused Product supports MU-

MIMO technology. For example, the Surface Go 2 includes “IEEE 802.11a/b/g/n/ac/ax” WiFi, see

Surface Go 2 Webpage, with “MU-MIMO” support. See Surface Go 2 FAQ. See also the Compare

Microsoft Devices Webpage.

       27.     Each ’235 Accused Product performs a method for use in a wireless

communications system, the method comprising receiving a first signal transmission from a remote

station via a first antenna element of an antenna and a second signal transmission from the remote

station via a second antenna element of the antenna simultaneously, wherein the first signal

transmission and the second signal transmission comprise electromagnetic signals comprising one

or more transmission peaks and one or more transmission nulls. For example, as with each ’235

Accused Product, the Surface Go 2 receives a first signal transmission from a remote station, such

as a Wi-Fi Access Point, via a first antenna element of an antenna and a second signal transmission

from the remote station via a second antenna element of the antenna simultaneously, such as when

the Surface Go 2 receives first and second signals with its first and second antenna elements that

contain training fields of a null data packet used for MU-MIMO sounding and channel estimation

procedures. For example, the Surface Go 2 includes “IEEE 802.11a/b/g/n/ac/ax” WiFi, see Surface

Go 2 Webpage, with “MU-MIMO” support. See Surface Go 2 FAQ. See, e.g., IEEE 802.11ax



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  Compare Microsoft Devices web page, available at: https://www.microsoft.com/en-
us/surface/devices/compare-devices?&cdresult=6-9-10;
3
  Surface Go 2 FAQ:
https://www.google.com/url?sa=t&rct=j&q=&esrc=s&source=web&cd=&ved=2ahUKEwjD1t_J
_KzxAhXOjp4KHa-
VDQsQFjABegQIExAD&url=https%3A%2F%2Fassetsprod.microsoft.com%2Fmpn%2Fsurface
-go-2-product-faq.pdf&usg=AOvVaw1TgHp-3SwGXDO4TTw8IeEN

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Standard, Section 27.3.1.1 (“The transmission within an RU in a PPDU may be single stream to

one user, spatially multiplexed to one user (SU-MIMO), or spatially multiplexed to multiple users

(MU-MIMO).”); Section 27.3.2.5 (“The number of users in the MU-MIMO group is indicated in

the Number Of HE-SIG-B Symbols Or MU-MIMO Users field in HE-SIG-A. The allocated spatial

streams for each user and the total number of spatial streams are indicated in the Spatial

Configuration field of User field in HE-SIG-B containing the STA-ID of the designated MU-

MIMO STA as defined in Table 27-29 (Spatial Configuration subfield encoding)…[i]f there is

only one User field (see Table 27-27 (User field format for a non-MU-MIMO allocation)) for an

RU in the HE-SIG-B content channel, then the number of spatial streams for the user in the RU is

indicated by the NSTS field in the User field. If there is more than one User field (see Table 27-

28 (User field for an MU-MIMO allocation)) for an RU in the HE-SIG-B content channel, then

the number of allocated spatial streams for each user in the RU is indicated by the Spatial

Configuration field of the User field in HE-SIG-B.”); Section 27.3.2.6 (“UL MU transmissions are

preceded by a Trigger frame or frame carrying a TRS Control subfield from the AP. The Trigger

frame or frame carrying the TRS Control subfield indicates the parameters, such as the duration of

the HE TB PPDU, RU allocation, target RSSI and MCS (see 9.3.1.22 (Trigger frame format),

9.2.4.6a.1 (TRS Control) and 26.5.3.3 (Non-AP STA behavior for UL MU operation)), required

to transmit an HE TB PPDU”); Section 27.3.10.8 (HE-SIG-B) (“The HE-SIG-B field provides the

OFDMA and DL MU-MIMO resource allocation information to allow the STAs to look up the

corresponding resources to be used in the data portion of the frame.”); Section 27.3.15 (“SU-

MIMO and DL-MU-MIMO beamforming are techniques used by a STA with multiple antennas

(the beamformer) to steer signals using knowledge of the channel to improve throughput. With

SU-MIMO beamforming all space-time streams in the transmitted signal are intended for reception




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at a single STA in an RU. With DL MU-MIMO beamforming, disjoint subsets of the space-time

streams are intended for reception at different STAs in an RU of size greater than or equal to 106-

tones”); Section 27.3.10.8.5 (HE-SIG-B per user content) (“The User Specific field consists of

multiple User fields. The User fields follow the Common field of HE-SIG-B. The RU Allocation

field in the Common field and the position of the User field in the User Specific field together

identify the RU used to transmit a STA’s data…”). See, e.g., IEEE 802.11ac Standard Clause

9.31.5.1 (“Transmit beamforming and DL-MU-MIMO require knowledge of the channel state to

compute a steering matrix that is applied to the transmitted signal to optimize reception at one or

more receivers. The STA transmitting using the steering matrix is called the VHT beamformer and

a STA for which reception is optimized is called a VHT beamformee. An explicit feedback

mechanism is used where the VHT beamformee directly measures the channel from the training

symbols transmitted by the VHT beamformer and sends back a transformed estimate of the channel

state to the VHT beamformer. The VHT beamformer then uses this estimate, perhaps combining

estimates from multiple VHT beamformees, to derive the steering matrix.”); See, e.g., 802.11ac

Standard Clause 9.31.5.2 (“A VHT beamformer shall initiate a sounding feedback sequence by

transmitting a VHT NDP Announcement frame followed by a VHT NDP after a SIFS. The VHT

beamformer shall include in the VHT NDP Announcement frame one STA Info field for each

VHT beamformee that is expected to prepare VHT Compressed Beamforming feedback and shall

identify the VHT beamformee by including the VHT beamformee’s AID in the AID subfield of

the STA Info field. The VHT NDP Announcement frame shall include at least one STA Info

field.”); id. (“A non-AP VHT beamformee that receives a VHT NDP Announcement frame…

shall transmit its VHT Compressed Beamforming feedback a SIFS after receiving a Beamforming

Report Poll with RA matching its MAC address and a non-bandwidth signaling TA obtained from




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the TA field matching the MAC address of the VHT beamformer.”); id. Clause 8.5.23.2 (defining

format and subfields within the VHT Compressed Beamforming frame); id. Clause 8.4.1.48

(including Tables 8-53(d)-(h)) (“Each SNR value per tone in stream i (before being averaged)

corresponds to the SNR associated with the column i of the beamforming feedback matrix V

determined at the beamformee”); id. Clause 8.4.1.49 (including Table 8-53i – MU Exclusive

Beamforming Report information); id.       Clauses 8.4.1.24, 9.31.5.1, 9.31.5.2; id.    Clauses

22.3.4.6(d), 22.3.4.7(e), 22.3.4.8(l), 22.3.4.9.1(m), 22.3.4.9.2(m), 22.3.4.10.4(a) (“Spatial

mapping: Apply the Q matrix as described in 22.3.10.11.1.”); id. Clause 22.3.10.11.1; IEEE

802.11-2012 Standard Clause 20.3.12.3.6; 802.11ac Standard Clauses 8.4.1.24, 9.31.5.1, 9.31.5.2;

id. Clause 22.3.11.1:




; id. Clause 22.3.11.2:




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       28.     Each ’235 Accused Product performs a method for use in a wireless

communications system, the method comprising determining first signal information for the first

signal transmission and determining second signal information for the second signal transmission,

wherein the second signal information is different than the first signal information. For example,

as with each ’235 Accused Product, the Surface Go 2 determines different signal information for

the first signal transmission than it does for the second signal transmission, by using the training

fields of a null data packet for MU-MIMO sounding and channel estimation to determine the

parameters in the beamforming feedback matrix. For example, the Surface Go 2 includes “IEEE

802.11a/b/g/n/ac/ax” WiFi, see Surface Go 2 Webpage, with “MU-MIMO” support. See Surface

Go 2 FAQ. See, e.g., IEEE 802.11ax Standard, Section 26.7 (HE sounding protocol) (“Transmit

beamforming and DL MU-MIMO require knowledge of the channel state to compute a steering

matrix that is applied to the transmit signal to optimize reception at one or more receivers. HE

STAs use the HE sounding protocol to determine the channel state information. The HE sounding

protocol provides explicit feedback mechanisms, defined as HE non-trigger-based (non-TB)

sounding and HE trigger-based (TB) sounding, where the HE beamformee measures the channel

using a training signal (i.e., an HE sounding NDP) transmitted by the HE beamformer and sends

back a transformed estimate of the channel state. The HE beamformer uses this estimate to derive

the steering matrix. The HE beamformee returns an estimate of the channel state in an HE

compressed beamforming/CQI report carried in one or more HE Compressed Beamforming/CQI

frames.”); Section 26.7.3 (“An HE beamformee that receives an HE NDP Announcement frame

from an HE beamformer with which it is associated and that contains the HE beamformee’s MAC

address in the RA field and also receives an HE sounding NDP a SIFS after the HE NDP

Announcement frame shall transmit its HE compressed beamforming/CQI report a SIFS after the




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HE sounding NDP. The TXVECTOR parameter CH_BANDWIDTH for the PPDU containing the

HE compressed beamforming/CQI report shall be set to indicate a bandwidth not wider than that

indicated by the RXVECTOR parameter CH_BANDWIDTH of the HE sounding NDP. An HE

beamformee that receives an HE NDP Announcement frame as part of an HE TB sounding

sequence with a STA Info field addressed to it soliciting SU or MU feedback shall generate an HE

compressed beamforming/CQI report using the feedback type, Ng and codebook size indicated in

the STA Info field. If the HE beamformee then receives a BFRP Trigger frame with a User Info

field addressed to it, the HE beamformee transmits an HE TB PPDU containing the HE compressed

beamforming/CQI report following the rules defined in 26.5.3.3 (Non-AP STA behavior for UL

MU operation).”); Section 26.5.3 (UL MU operation) (“UL MU operation allows an AP to solicit

simultaneous immediate response frames from one or more non-AP HE STAs”); Section

27.3.10.10 (HE-LTF) (“The HE-LTF field provides a means for the receiver to estimate the MIMO

channel between the set of constellation mapper outputs (or, if STBC is applied, the STBC encoder

outputs) and the receive chains. In an HE SU PPDU and HE ER SU PPDU, the transmitter provides

training for NSTS space-time streams (spatial mapper inputs) used for the transmission of the

PSDU. In an HE MU PPDU, the transmitter provides training for NSTS,r,total space-time streams

used for the transmission of the PSDU(s) in the r-th RU. In an HE TB PPDU, the transmitter of

user u in the r-th RU provides training for NSTS,r,u space-time streams used for the transmission

of the PSDU. For each tone in the r-th RU, the MIMO channel that can be estimated is an NRX x

NSTS,r,total matrix. An HE transmission has a preamble that contains HE-LTF symbols, where

the data tones of each HE-LTF symbol are multiplied by entries belonging to a matrix PHE-LTF,

to enable channel estimation at the receiver…. In an HE SU PPDU, HE MU PPDU and HE ER

SU PPDU, the combination of HE-LTF type and GI duration is indicated in HE-SIG-A field. In




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an HE TB PPDU, the combination of HE-LTF type and GI duration is indicated in the Trigger

frame that triggers transmission of the PPDU. If an HE PPDU is an HE sounding NDP, the

combinations of HE-LTF types and GI durations are listed in 27.3.18 (Transmit specification). If

an HE PPDU is an HE TB feedback NDP, the combination of HE-LTF types and GI durations are

listed in 27.3.4 (HE PPDU formats.”); Section 27.3.15.1 (SU-MIMO and DL-MIMO

beamforming) (“The DL MU-MIMO steering matrix Qk = [Qk,0, Qk,1,…,Qk,Nuser,r-1] can be

detected by the beamformer using the beamforming feedback for subcarrier k from beamformee

u, where u = 0,1,…Nuser,r -1. The feedback report format is described in 9.4.1.65 (HE Compressed

Beamforming Report field) and 9.4.1.66 (HE MU Exclusive Beamforming Report field). The

steering matrix that is computed (or updated) using new beamforming feedback from some or all

of participating beamformees might replace the existing steering matrix Qk for the next DL MU-

MIMO data transmission. For SU-MIMO beamforming, the steering matrix Qk can be determined

from the beamforming feedback matrix Vk that is sent back to the beamformer by the beamformee

using the compressed beamforming feedback matrix format as defined in 19.3.12.3.6 (Compressed

beamforming feedback matrix). The feedback report format is described in 9.4.1.65 (HE

Compressed Beamforming Report field.”). See, e.g., IEEE 802.11ac Standard Clause 9.31.5.1

(“Transmit beamforming and DL-MU-MIMO require knowledge of the channel state to compute

a steering matrix that is applied to the transmitted signal to optimize reception at one or more

receivers. The STA transmitting using the steering matrix is called the VHT beamformer and a

STA for which reception is optimized is called a VHT beamformee. An explicit feedback

mechanism is used where the VHT beamformee directly measures the channel from the training

symbols transmitted by the VHT beamformer and sends back a transformed estimate of the channel

state to the VHT beamformer. The VHT beamformer then uses this estimate, perhaps combining




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estimates from multiple VHT beamformees, to derive the steering matrix.”); See, e.g., 802.11ac

Standard Clause 9.31.5.2 (“A VHT beamformer shall initiate a sounding feedback sequence by

transmitting a VHT NDP Announcement frame followed by a VHT NDP after a SIFS. The VHT

beamformer shall include in the VHT NDP Announcement frame one STA Info field for each

VHT beamformee that is expected to prepare VHT Compressed Beamforming feedback and shall

identify the VHT beamformee by including the VHT beamformee’s AID in the AID subfield of

the STA Info field. The VHT NDP Announcement frame shall include at least one STA Info

field.”); id. (“A non-AP VHT beamformee that receives a VHT NDP Announcement frame…

shall transmit its VHT Compressed Beamforming feedback a SIFS after receiving a Beamforming

Report Poll with RA matching its MAC address and a non-bandwidth signaling TA obtained from

the TA field matching the MAC address of the VHT beamformer.”); id. Clause 8.5.23.2 (defining

format and subfields within the VHT Compressed Beamforming frame); id. Clause 8.4.1.48

(including Tables 8-53(d)-(h)) (“Each SNR value per tone in stream i (before being averaged)

corresponds to the SNR associated with the column i of the beamforming feedback matrix V

determined at the beamformee”); id. Clause 8.4.1.49 (including Table 8-53i – MU Exclusive

Beamforming Report information); id.      Clauses 8.4.1.24, 9.31.5.1, 9.31.5.2;    id.   Clauses

22.3.4.6(d), 22.3.4.7(e), 22.3.4.8(l), 22.3.4.9.1(m), 22.3.4.9.2(m), 22.3.4.10.4(a) (“Spatial

mapping: Apply the Q matrix as described in 22.3.10.11.1.”); id. Clause 22.3.10.11.1; IEEE

802.11-2012 Standard Clause 20.3.12.3.6; 802.11ac Standard Clauses 8.4.1.24, 9.31.5.1, 9.31.5.2;

id. Clause 22.3.11.1:




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; id. Clause 22.3.11.2:




       29.     Each ’235 Accused Product performs a method for use in a wireless

communications system, the method comprising determining a set of weighting values based on

the first signal information and the second signal information, wherein the set of weighting values

is configured to be used by the remote station to construct one or more beam-formed transmission

signals, and transmitting to the remote station a third signal comprising content based on the set of

weighting values. For example, as with each ’235 Accused Product, the Surface Go 2 determines

a set of weighting values based on the first signal information and the second signal information,

wherein the set of weighting values is configured to be used by the remote station to construct one

or more beam-formed transmission signals, and transmits to the remote station a third signal

comprising content based on the set of weighting values, by determining the parameters of the


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beamforming feedback matrix, which include weighting values configured to be used by the

remote station (e.g., a Wi-Fi access point) to construct one or more beamformed transmission

signals, and transmitting to the remote station (e.g., a Wi-Fi access point) a signal that includes the

beamforming feedback matrix. For example, the Surface Go 2 includes “IEEE 802.11a/b/g/n/ac/ax”

WiFi, see Surface Go 2 Webpage, with “MU-MIMO” support. See Surface Go 2 FAQ. See, e.g.,

IEEE 802.11ax Standard, Section 26.7 (HE sounding protocol) (“Transmit beamforming and DL

MU-MIMO require knowledge of the channel state to compute a steering matrix that is applied to

the transmit signal to optimize reception at one or more receivers. HE STAs use the HE sounding

protocol to determine the channel state information. The HE sounding protocol provides explicit

feedback mechanisms, defined as HE non-trigger-based (non-TB) sounding and HE trigger-based

(TB) sounding, where the HE beamformee measures the channel using a training signal (i.e., an

HE sounding NDP) transmitted by the HE beamformer and sends back a transformed estimate of

the channel state. The HE beamformer uses this estimate to derive the steering matrix. The HE

beamformee returns an estimate of the channel state in an HE compressed beamforming/CQI

report carried in one or more HE Compressed Beamforming/CQI frames.”); Section 26.7.3 (“An

HE beamformee that receives an HE NDP Announcement frame from an HE beamformer with

which it is associated and that contains the HE beamformee’s MAC address in the RA field and

also receives an HE sounding NDP a SIFS after the HE NDP Announcement frame shall transmit

its HE compressed beamforming/CQI report a SIFS after the HE sounding NDP. The TXVECTOR

parameter CH_BANDWIDTH for the PPDU containing the HE compressed beamforming/CQI

report shall be set to indicate a bandwidth not wider than that indicated by the RXVECTOR

parameter CH_BANDWIDTH of the HE sounding NDP. An HE beamformee that receives an HE

NDP Announcement frame as part of an HE TB sounding sequence with a STA Info field




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addressed to it soliciting SU or MU feedback shall generate an HE compressed beamforming/CQI

report using the feedback type, Ng and codebook size indicated in the STA Info field. If the HE

beamformee then receives a BFRP Trigger frame with a User Info field addressed to it, the HE

beamformee transmits an HE TB PPDU containing the HE compressed beamforming/CQI report

following the rules defined in 26.5.3.3 (Non-AP STA behavior for UL MU operation).”); Section

26.5.3 (UL MU operation) (“UL MU operation allows an AP to solicit simultaneous immediate

response frames from one or more non-AP HE STAs”); Section 27.3.10.10 (HE-LTF) (“The HE-

LTF field provides a means for the receiver to estimate the MIMO channel between the set of

constellation mapper outputs (or, if STBC is applied, the STBC encoder outputs) and the receive

chains. In an HE SU PPDU and HE ER SU PPDU, the transmitter provides training for NSTS

space-time streams (spatial mapper inputs) used for the transmission of the PSDU. In an HE MU

PPDU, the transmitter provides training for NSTS,r,total space-time streams used for the

transmission of the PSDU(s) in the r-th RU. In an HE TB PPDU, the transmitter of user u in the r-

th RU provides training for NSTS,r,u space-time streams used for the transmission of the PSDU.

For each tone in the r-th RU, the MIMO channel that can be estimated is an NRX x NSTS,r,total

matrix. An HE transmission has a preamble that contains HE-LTF symbols, where the data tones

of each HE-LTF symbol are multiplied by entries belonging to a matrix PHE-LTF, to enable

channel estimation at the receiver…. In an HE SU PPDU, HE MU PPDU and HE ER SU PPDU,

the combination of HE-LTF type and GI duration is indicated in HE-SIG-A field. In an HE TB

PPDU, the combination of HE-LTF type and GI duration is indicated in the Trigger frame that

triggers transmission of the PPDU. If an HE PPDU is an HE sounding NDP, the combinations of

HE-LTF types and GI durations are listed in 27.3.18 (Transmit specification). If an HE PPDU is

an HE TB feedback NDP, the combination of HE-LTF types and GI durations are listed in 27.3.4




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(HE PPDU formats.”); Section 27.3.15.1 (SU-MIMO and DL-MIMO beamforming) (“The DL

MU-MIMO steering matrix Qk = [Qk,0, Qk,1,…,Qk,Nuser,r-1] can be detected by the beamformer

using the beamforming feedback for subcarrier k from beamformee u, where u = 0,1,…Nuser,r -1.

The feedback report format is described in 9.4.1.65 (HE Compressed Beamforming Report field)

and 9.4.1.66 (HE MU Exclusive Beamforming Report field). The steering matrix that is computed

(or updated) using new beamforming feedback from some or all of participating beamformees

might replace the existing steering matrix Qk for the next DL MU-MIMO data transmission. For

SU-MIMO beamforming, the steering matrix Qk can be determined from the beamforming

feedback matrix Vk that is sent back to the beamformer by the beamformee using the compressed

beamforming feedback matrix format as defined in 19.3.12.3.6 (Compressed beamforming

feedback matrix). The feedback report format is described in 9.4.1.65 (HE Compressed

Beamforming Report field.”). See, e.g., IEEE 802.11ac Standard Clause 9.31.5.1 (“Transmit

beamforming and DL-MU-MIMO require knowledge of the channel state to compute a steering

matrix that is applied to the transmitted signal to optimize reception at one or more receivers. The

STA transmitting using the steering matrix is called the VHT beamformer and a STA for which

reception is optimized is called a VHT beamformee. An explicit feedback mechanism is used

where the VHT beamformee directly measures the channel from the training symbols transmitted

by the VHT beamformer and sends back a transformed estimate of the channel state to the VHT

beamformer. The VHT beamformer then uses this estimate, perhaps combining estimates from

multiple VHT beamformees, to derive the steering matrix.”); See, e.g., 802.11ac Standard Clause

9.31.5.2 (“A VHT beamformer shall initiate a sounding feedback sequence by transmitting a VHT

NDP Announcement frame followed by a VHT NDP after a SIFS. The VHT beamformer shall

include in the VHT NDP Announcement frame one STA Info field for each VHT beamformee that




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is expected to prepare VHT Compressed Beamforming feedback and shall identify the VHT

beamformee by including the VHT beamformee’s AID in the AID subfield of the STA Info field.

The VHT NDP Announcement frame shall include at least one STA Info field.”); id. (“A non-AP

VHT beamformee that receives a VHT NDP Announcement frame… shall transmit its VHT

Compressed Beamforming feedback a SIFS after receiving a Beamforming Report Poll with RA

matching its MAC address and a non-bandwidth signaling TA obtained from the TA field

matching the MAC address of the VHT beamformer.”); id. Clause 8.5.23.2 (defining format and

subfields within the VHT Compressed Beamforming frame); id. Clause 8.4.1.48 (including Tables

8-53(d)-(h)) (“Each SNR value per tone in stream i (before being averaged) corresponds to the

SNR associated with the column i of the beamforming feedback matrix V determined at the

beamformee”); id. Clause 8.4.1.49 (including Table 8-53i – MU Exclusive Beamforming Report

information); id. Clauses 8.4.1.24, 9.31.5.1, 9.31.5.2; id. Clauses 22.3.4.6(d), 22.3.4.7(e),

22.3.4.8(l), 22.3.4.9.1(m), 22.3.4.9.2(m), 22.3.4.10.4(a) (“Spatial mapping: Apply the Q matrix as

described in 22.3.10.11.1.”); id.   Clause 22.3.10.11.1; IEEE 802.11-2012 Standard Clause

20.3.12.3.6; 802.11ac Standard Clauses 8.4.1.24, 9.31.5.1, 9.31.5.2; id. Clause 22.3.11.1:




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; id. Clause 22.3.11.2:




       30.     Defendant also has been and are now knowingly and intentionally inducing

infringement of at least claim 8 of the ’235 Patent in violation of 35 U.S.C. § 271(b). Through at

least the filing and service of this Complaint, Defendant has had knowledge of the ’235 Patent and

the infringing nature of the ’235 Accused Products.

       31.     Despite this knowledge of the ’235 Patent, Defendant continues to actively

encourage and instruct their customers and end users (for example, through user manuals and

online instruction materials on its website) to use the ’235 Accused Products in ways that directly

infringe the ’235 Patent. For example, Defendant’s website provided, and continues to provide,

instructions for using the ’235 Accused Products on wireless communications systems, to utilize

their 802.11ac and/or 802.11ax beamforming and/or MIMO or MU-MIMO functionalities.

Defendant did so knowing and intending that its customers and end users will commit these

infringing acts. Defendant also continues to make, use, offer for sale, sell, and/or import the ’235

Accused Products, despite its knowledge of the ’235 Patent, thereby specifically intending for and

inducing their customers to infringe the ’235 Patent through the customers’ normal and customary

use of the ’235 Accused Products. Defendant also knew or was willfully blind that their actions


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would induce direct infringement by others and intended that its actions would induce direct

infringement by others. Accordingly, a reasonable inference is that Defendant specifically intended

for others, such as its customers, to directly infringe one or more claims of Vivato’s ’235 Patent in

the United States because Defendant had knowledge of the ’235 Patent and actively induced others

(e.g., its customers) to directly infringe the ’235 Patent.

       32.      Defendant also contributorily infringes under 35 U.S.C. § 271(c) by making, using,

selling, offering to sell, and/or importing the ’235 Accused Products, knowing they constitute a

material part of the invention, are especially made or adapted for use in infringing, and that they

are not staple articles of commerce capable of substantial non-infringing use.

       33.      By making, using, offering for sale, selling and/or importing into the United States

the ’235 Accused Products, Defendant has injured Vivato and is liable for infringement of the ’235

Patent pursuant to 35 U.S.C. § 271.

       34.      Defendant also infringes numerous additional claims of the ’235 Patent, including

Claim 12, for example, directly and through inducing infringement, for similar reasons as

explained above with respect to Claim 8.

       35.      Vivato’s ’235 Patent is valid and enforceable.

       36.      Vivato has complied with 35 U.S.C. § 287 where applicable (i.e., as to non-method

claims) because there are no unmarked patented articles subject to a duty to mark.

       37.      As a result of Defendant’s infringement of the ’235 Patent, Defendant has damaged

Vivato, and Vivato is entitled to monetary damages in an amount to be determined at trial that is

adequate to compensate for Defendant’s infringement, but in no event less than a reasonable

royalty for the use made of the invention by Defendant, together with interest and costs as fixed

by the Court.




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          38.      Defendant’s infringing activities have injured and will continue to injure Vivato,

unless and until this Court enters an injunction prohibiting further infringement of the ’235 Patent,

and, specifically, enjoining further manufacture, use, sale, importation, and/or offers for sale that

come within the scope of the patent claims.

                                       PRAYER FOR RELIEF

          WHEREFORE, Vivato respectfully requests that this Court enter:

          a.       A judgment in favor of Vivato that Defendant has infringed, either literally and/or

under the doctrine of equivalents the ’235 patent;

          b.       A permanent injunction prohibiting Defendant from further acts of infringement of

the ’235 patent;

          c.       A judgment and order requiring Defendant to pay Vivato its damages, costs,

expenses, and pre-judgment and post-judgment interest for Defendant’s infringement of the ’235

patent;

          d.       A judgment and order requiring Defendant to provide an accounting and to pay

supplemental damages to Vivato, including without limitation, pre-judgment and post-judgment

interest and an award of an ongoing royalty for Defendant’s post-judgment infringement in an

amount according to proof;

          e.       A judgment and order finding that this is an exceptional case within the meaning

of 35 U.S.C. § 285 and awarding to Vivato its reasonable attorneys’ fees and costs against

Defendant, and enhanced damages pursuant to 35 U.S.C. § 284; and

          f.       Any and all other relief as the Court may deem appropriate and just under the

circumstances.

                                    DEMAND FOR JURY TRIAL




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       Vivato, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by jury of

any issues so triable by right.


Dated: July 1, 2021                         Respectfully submitted,

                                            /s/ Reza Mirzaie

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